                    Case 1:21-cv-07618-VEC Document 4
                                                    5 Filed 11/05/21
                                                            11/08/21 Page 1 of 1




                             IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF NEW YORK


           JAMES ORPHANIDIS,
                                                             Civil Action No. 1:21-cv-07618-VEC
                              Plaintiff,

               v.
                                                                      MEMO ENDORSED
           BONANZA CREEK ENERGY, INC.,                                    USDC SDNY
           JAMES E. CRADDOCK, ERIC T.                                     DOCUMENT
           GREAGER, CARRIE L. HUDAK, PAUL                                 ELECTRONICALLY FILED
           KEGLEVIC, AUDREY ROBERTSON,                                    DOC #:
           BRIAN STECK, and JEFFREY E.                                    DATE FILED: 
           WOJAHN,


                             Defendants.


                             PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL

               PLEASE TAKE NOTICE that, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), plaintiff James

        Orphanidis hereby voluntarily dismisses his claims in the above-captioned action (the “Action”).

        Defendants have filed neither an answer nor a motion for summary judgment in the Action.


        Dated: November 5, 2021                                    Respectfully submitted,

                                                                   By: /s/ Joshua M. Lifshitz
                                                                   Joshua M. Lifshitz
                                                                   Email: jml@jlclasslaw.com
                                                                   LIFSHITZ LAW FIRM, P.C.
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                                                                   Telephone: (516) 493-9780
                                                                   Facsimile: (516) 280-7376

 SO ORDERED.                                                       Attorneys for Plaintiff


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 HON. VALERIE CAPRONI
 UNITED STATES DISTRICT JUDGE
